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F.# 2017R01195                                                       IN r:u:RK'S (JFFICE
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                               -1~       DEC 14 2017              *
--------------------------X                                    LONG ISLAND OFFICE

UNITED STATES OF AMERICA
                                                     PROPOSED ORDER
         - against -                                 CR 17-0690 (JS)
ZOOBIA SHAHNAZ,

                       Defendant.

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                Upon the application of BRIDGET M. ROHDE, Acting United States

Attorney for the Eastern District of New York, by Assistant United States Attorney Artie

McConnell, for an order unsealing the case.

                WHEREFORE, it is ordered that the case be unsealed.


Dated:    Central Islip, New York
          j)ec em,bk... I t.J= , 201 7

                                              s/ A. Kathleen Tomlinson

                                          HONORABLE A. KATHLEEN TOMLINSON
                                          UNITED STATES MAGISTRATE JUDGE
                                          EASTERN DISTRICT OF NEW YORK
